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Carlean Dates
12062 Hazelhurst Drive
Cincinnati, Ohio zip code exempt                                                                  Iq
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                                                                                                      ..,
                                                                                                            '.'.)'' �• ¼v
                                                                                                            f   l,   ••./ '"   ,J


Phone: 513-708-6822
Email: .sneamea•i@yahoo.com
                                                                                        i..   '


                         UNITED STATES BANKRUPTCY COURT
                    SOURHERN DISTRICT OF OHIO CINCINNATI DIVISION

CARLEAN DATES                                             Case 1: 18-bk-14602

                          Debtor

CARLEAN DATES
                                                          Adv. Proc. No:
                          Plaintiff

vs

HSBC Bank USA NA as Trustee for the
Certificate Holder of ACE Securities Corp.                COMPLAINT TO DETERMINE THE
Home Equity Loan Trust, Series 2006-FM2                   EXTENT AND VALIDITY OF LIEN ON
Asset-Back Pass-Through Certificates                      REAL PROPERTY, FOR FRAUD AND
                                                          CONDITIONAL ACCEPTANCE UNDER
and                                                       PROOF OF CLAIM

JOHN D CLUNK CO. LPA and all
Attomey(s) doing business as JOHN D.
CLUNK CO. LPA


     By and for agent carlean:   dates sui juris who was created by Allah (God in the Quran) who is over

twenty one (21) years of age and of the age of majority, third party intervenors, sole lien holder and

holder in due course and Beneficiaries of estate(s)/trust(s) CARLEAN DATES as woman deposits this

COMPLAINT TO DETERMINE THE EXTENT AND VALIDITY OF LIEN ON REAL PROPERTY, FOR FRAUD AND

CONDITIONAL ACCEPTANCE UNDER PROOF OF CLAIM and having full first-hand knowledge of the facts

stated herein and, making this deposit of her own free Will, does affirm that the facts herein are true,

correct, certain, and complete and can testify to the same if call upon.




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                                             JURISDICTION

   1. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157; 1334; 1652; 2201; FRCP

      57, "FDCPA," 15 U.S.C. §1692a, 15 U.S.C.1692k and B.R. 7001(1), (2), (7) and (9), and A.R.S. § 12-

      1831, et seq. FRCP 57; Pursuant to B.R. 3007(b), an Objection to Claim may be included in an

      Adversary Proceeding. However, as of the date this Complaint is filed, no Proof of Claim has

      been filed in this case. Venue is appropriate in this district pursuant to 28 U.S.C. §1408 and

      1409. This matter is a core proceeding.

                                                  PARTIES


  2. Sui Juris Plaintiff, is an individual residing on the land in Ohio. She is a woman who is on the land

      at 12062 Hazelhurst Drive, Cincinnati, Ohio zip code exempt .

  3. Defendant HSBC BANK USA NA is a bank acting as trustee for the Certificate Holder of ACE

      Securities Corp. Home Equity Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates

      and HSBC Bank USA NA corporate office is located at 2929 Walden Ave. Depew NY. 14043

  4. Defendant JOHN D CLUNK CO. LPA is a law firm acting as debt collectors located at 4500

      COURTHOUSE BLVD SUITE400, STOW, OHIO 44224.


                                                FACTS


  5. On October 12, 2011 HSBC Bank USA NA as Trustee for the Certificate Holder of ACE Securities

      Corp. Home Equity Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates (herein

      after "HSBC or HSBC BANK") illegally received an assignment from MERS acting as nominee for

      Fremont Investment & Loan which had been dissolved by the bankruptcy court. HSBC Bank USA

      NA identifying itself as the Trustee for the Certificate Holder of ACE Securities Corp. Home

      Equity Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates




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   6. This adversary complaint is being filed on February 19, 2019 against HSBC BANK, seeking to,

       determine the extent and validity of lien on real property and if they are the original source of

      funds of the mortgage in this case or any entity other than carlean:      dates.

   7. This adversary complaint asserts that the HSBC BANK cannot enforce the underlying obligation.

  8. The note and mortgage on my estate at 12062 Hazelhurst Drive zip code exempt with Fremont

      Investment and loan was executed on 6th day of June 2006

  9. The note and mortgage was on registered land.

  10. ACE Securities Corp. Home Equity Loan Trust, Series 2006-FM2 is a trust registered with the

      Securities and Exchange Commission under Central Index Key (CIK) number 0001377946;

      Commission File Number 333-131727-17 and I.R.S. Employer Identification Number XX-XXXXXXX

  11. The ACE Securities Corp. Home Equity Loan Trust, Series 2006-FM2 is a Trust and govern by its

      pooling and service agreement and qualified as tax exempt as a Real estate mortgage

      investment conduit (REMIC).

  12. Real estate mortgage investment conduit is "an entity that holds a fixed pool of mortgages and

      issues multiple classes of interests in itself to investors" under U.S. Federal income tax law and is

      "treated like a partnership for Federal income tax purposes with its income passed through to

      its interest holders and makes it tax exempt

  13. The federal income taxation of REMICs is governed primarily under/:• : , ·_, : -,-,               of

      Part IV of Subchapter M of Chapter 1 of Subtitle A of the                                    ).

  14. The Cut-off Date for the trust above was October 1, 2006.

  15. ACE Securities Corp. Home Equity Loan Trust, Series 2006-FM2 as a REMIC under the tax law the

      trust can only except qualified notes and mortgages and must be in possession of the qualified

      promissory note and mortgage by 90 days after the cut-off date and the cut-off date was




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       October 1, 2006, therefore the lates time the trust was able to take possession of my promissory

       note and mortgage was December 31, 2006 which was ninety (90) days after the cut-off date.

   16. The Trust is only allowed as REMIC to except qualified mortgages and to be a qualified

      mortgage it cannot be in default. Based on the documents filed by HSBC in the foreclosure

      proceeding they received the assignment of my promissory note and mortgage (Exhibit B) when

      it was in default and about six year after the trust was allowed to legally acquire my promissory

      note and mortgage

  17. HSBC has been subpoenaed twice and once they sent back a letter stating that they are not

      connected in any way to Carlean Dates (Exhibit A) and they never answered the second one.

  18. HSBC has not sent a contract between the law firm John D. Clunk and HSBC that gives John D.

      Clunk the right to appear for HSBC

  19. The allege judgment in state court was in favor of HSBC BANK as Trustee and pooling and

      servicing agreement does not allow the trustee to bring foreclosure proceedings.

  20. Fremont Investment & Loan filed an adversary document on my registered land at the time in

      2008 about two years after the cut-off date, therefore the trust had not received transfer of my

      promissory note and mortgage.

  21. Fremont Investment & Loan filed for Bankruptcy in June 2008 and came out of Bankruptcy as

      different company with a different name in 2010 confirmed by Judge Erithe Smith of the U.S.

      Bankruptcy Court for the Central District of California in Santa Ana on June 11, 2010

  22. Fremont Investment & Loan became defunct and nolonger exist as of June 11, 2010

  23. The assignment to HSBC (Exhibit B) was by Mortgage Electronic Registration System (MERS) as

      nominee for Fremont Investment & Loan two years after Fremont Investment & Loan had been

      dissolved by Judge Erithe Smith of the U.S. Bankruptcy Court for the Central District of California

      in Santa Ana on June 11, 2010


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   24. Only Creditors may enter Bankruptcy court and HSBC is not a creditor based on its settlement

       and the illegal assignment.

                                                Count I
                              DETERMINATION OF EXTENT AND VALIDITY OF LIEN

   25. The carlean: dates realleges and incorporates paragraphs 1 through 24 of this Complaint as

      though fully set forth herein

  26. Plaintiff seeks a determination of the extent and validity of a lien on Real Property (the

      "Property") pursuant to B.R. 7001(2), which provides for an adversary proceeding "to determine

      the validity, priority, or extent of a lien or other interest in property."

  27. HSBC Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp Home Equity

      Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates violated its governing

      document and its REMIC status and tried to receive my promissory note and mortgage in

      violation of the pooling and servicing agreement which voids it tax law status as REMIC status

      because the promissory note and mortgage was assigned about six years after the cut-off date

      and to be able to receive the promissory note and mortgage the assignment must have been

      validated and done no later than thirty (30) days after the cut-off date.

  28. carlean sent HSBC Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp

      Home Equity Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates a subpoena

      (Exhibit A) and HSBC Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp

      Home Equity Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates sent back a reply

      (Exhibit B) to the subpoena showing they have no connection to carlean:       dates promissory

      note and mortgage.

  29. ACE Securities Corp. Home Equity Loan Trust, Series 2006-FM2 is a trust registered with the

      Securities and Exchange Commission under Central Index Key (CIK) number 0001377946;

      Commission File Number 333-131727-17 and I.R.S. Employer Identification Number XX-XXXXXXX.

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   30. HSBC Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp Home Equity

       Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates or the Attorneys acting for

       HSBC Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp Home Equity

       Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates has never produce the

       original wet ink promissory note or mortgage and have only use the color of law to conspire

       with judges and court to illegally take carlean personal property.

   31. carlean:    dates has excepted her deed to her property.

                                             COUNT II
        FRAUD BY HSBC BANK AS TRUSTEE, ITS ATTORNEYS AND ENTITY OR ORDER IN THE COLOR OF
                                               LAW

   32. The carlean: dates realleges and incorporates paragraphs 1 through 31 of this Complaint as

       though fully set forth herein.

   33. HSBC committed fraud on 12th day of October 2011 when HSBC illegally accepted fraudulent

      assignment by MERS in violation of its pooling and servicing agreement and tax status

   34. MERS committed fraud on 12th day of October 2011 by its representative Jeanine Abramoff as

      assistant secretary when it illegally assigned my mortgage and promissory note as nominee for

      Fremont Investment & Loan when they no longer existed

   35. Jeanine Abramoff work for Bank of America at the same time it signed for MERS as its employee.

   36. Jeanine Abramoff work for two company allegedly when signing assignment neither company

      had any interest in may promissory note or mortgage

   37. Law firm JOHN D. CLUNK CO. LPA had attorneys doing business as JOHN D. CLUNK CO. LPA file

      documents in violation of civil rule 11 when they knew or should know that HSBC Bank USA NA

      as Trustee for the Certificate Holder of ACE Securities Corp Home Equity Loan Trust, Series 2006-

      FM2 Asset-Back Pass-Through Certificates had no right to file a foreclosure and they had no

      rights to payments on carlean's promissory note and mortgage.


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   38. Law firm JOHN D. CLUNK CO. LPA, attorneys doing business as JOHN D. CLUNK CO. LPA, HSBC

       Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp Home Equity Loan

       Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates, the Hamilton County Common

       Pleas Court of Ohio, Judge Ghiz, Judge DENNIS S. HELMICK, Attorney Covey, LeAnn E. doing

       business as JOHN D. CLUNK CO. LPA and other entities violated the R.I.C.O. Act by conspiring to

       take carlean:   dates personal property in the color of law and in violation of her unalienable

      rights, constitutional rights and other laws.

   39. Law firm JOHN D. CLUNK CO. LPA, attorneys doing business as JOHN D. CLUNK CO. LPA, HSBC

      Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp Home Equity Loan

      Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates are knowingly violating tax law.

   40. Law firm JOHN D. CLUNK CO. LPA, attorneys doing business as JOHN D. CLUNK CO. LPA, HSBC

      Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp Home Equity Loan

      Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates has not filed with the court a

      1099010 tax document showing they are the original source of the funds for calean's promissory

      note and mortgage and carlean: dates was the recipient of the original funds the promissory

      note and mortgage assigned to HSBC Bank USA NA as Trustee for the Certificate Holder of ACE

      Securities Corp Home Equity Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates

      on 12th day of October 2011.

  41. Carlean:   dates does not accept the cross over tax liability. See 2032{e)(11)

                                              COUNT Ill
                   carlean:   dates CONDITIONAL ACCEPTANCE UNDER PROOF OF CLAIM

  42. The carlean: dates realleges and incorporates paragraphs 1 through 40 of this Complaint as

      though fully set forth herein

  43. carlean: dates conditionally accept lien on her promissory note and mortgage on the property

      commonly known as 12062 Hazelhurst Drive Cincinnati, Ohio under proof of claim that:

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      a) That the promissory note and mortgage of carlean:       dates on the property commonly

         known as 12062 Hazelhurst Drive Cincinnati, Ohio is not a gift from the CARLEAN DATES

         estate based on Internal Revenue Service Manual 6209 and that the promissory note and

         mortgage has a classification of code 5 in the Internal Revenue Service Manual 6209 and the

         proceeds from the promissory note and mortgage must be returned to the original

         donor/maker/issuer carlean: dates based on UCC 3-305 recoupment.

     b) HSBC Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp. Home Equity

         Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates or its predecessor in

         interest are the source of funds (payer) and carlean:    dates is the recipient of the funds

         from HSBC Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp. Home

         Equity Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates or its predecessor

         in interest.

     c) HSBC Bank USA NA as Trustee for the Certificate Holder of ACE Securities Corp. Home Equity

         Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates or its predecessor in

         interest has filed with the court the IRS form 1099 OID showing them as the source of funds

         (payer) and carlean:   dates is the recipient of the funds from HSBC Bank USA NA as

         Trustee for the Certificate Holder of ACE Securities Corp. Home Equity Loan Trust, Series

         2006-FM2 Asset-Back Pass-Through Certificates or its predecessor in interest.

     d) That JOHN D. CLUNK CO. LPA or any attorney or law firm has deposited or filed with the

         Court the document giving them authority make another presentment knowing that the

         promissory note and mortgage of carlean:     dates on the property commonly known as

         12062 Hazelhurst Drive Cincinnati, Ohio is a gift from the CARLEAN DATES estate based on

         Internal Revenue Service Manual 6209 and has been set-off.




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                                                CONCLUSION


    44. Wherefore, there is no legal lien on the property commonly known as 12062 Hazelhurst Drive

         Cincinnati, Ohio by HSBC Bank USA NA as Trustee for the Certificate Holder of ACE Securities

         Corp. Home Equity Loan Trust, Series 2006-FM2 Asset-Back Pass-Through Certificates or its

         predecessor in interest on the promissory note and mortgage of carlean:          dates on the

         property commonly known as 12062 Hazelhurst Drive Cincinnati, Ohio and fraud was committed

         the mortgage must have settlement, discharge and closure


/s/ CARLEAN DATES
CARLEAN DATES

"I declare (or certify, verify, or state) under penalty of perjury under the laws of the United States of
America th-,t the �re�oing is true and correct. (28 USCA 1746(1) without the United States) on /         9
day of _d-=-.;,LAJ---"
              ________, 2019

                                                  Without Prejudice

                                 by:��
                                   carlean of the family dates, created by allah
                                   All Rights Reserved

Using a notary on this document does not constitute any adhesion, nor does it alter Our status in any
manner. The purpose for notary is verification and identification only and not for entrance into any
foreign jurisdiction.




State oCJ"'�   0
            1Jlw),· 1m                                     ss.     ACKNOWLEDGEMENT
County of

     Nota!'.Y Publicrl-Qo hereby certify that on this\5._ day of   Rb           2019, ,
      (' �'\{\ \_)£1               above mentioned appeared before me and executed the



Notary

                                                                                    Sealt,

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                                 CERTIFICATE OF SERVICE

     A copy of the foregoing adversary Complaint was sent via U.S. Mail by the undersigned

                             This __ day of February 19, 2019

BANKRUPTCY TRUSTEE
600 VINE ST. SUITE 2200
CINCINNATI, OHIO 45202

U.S. TRUSTEE
36 EAST 7TH ST. SUITE 2030
CINCINNATI, OHIO 45202

Executive Office For United States Trustees
441 G St NW #6150
Washington, DC 20226

HSBC Bank USA NA as Trustee
2929 Walden Ave.
Depew NY. 14043

JOHN CLUNK--SUITE400
4500 COURTHOUSE BLVD
STOW, OHIO 44224

                                                               Without Prejudice


                                                               /s/ CARLEAN DATES
                                                               CARLEAN DATES
                                                               12062 Hazelhurst Drive
                                                               Cincinnati, Ohio [45240]




                                                               Without Prejudice


                                              carlean; dates party of interest (sentient being)




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 Direct Proc•••
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                                   DPS Direct Process Server LLC
 Hauppauge, NY 11718
 Pflone: (631) 408 8119
 Fax: (631) 610-1987                                 S e r v ic e              D o n e          R     g h t
 XX-XXXXXXX



                                                                                         Invoice #OPR-2015000817
 CARLEAN DATES                                                                                          2/23/2015



                                                                  1111111111111111
 CARLEAN DATES
 12062 HAZELHURST DRIVE
 CINCINNATl, OH 45240



Cue Number: Erie A1200734

Plaintiff:
HSBS BA.MK USA NA AS TRUSTEE ¥OR THE CERTtRCATE HOLDER OF ACE SECURITIES CORP. HOME
EQUITY LOAN TRUST. SERIES 2006..fM2 ASSET-SACK PASS-THROUGH CERTIFICATES

Defendant:
CARLEAN DATES

Received: 2/9/2015 Served: 2/18/2015 1:33 pm CORPORATE
To be served on: HSBC BANK USA NA AS TRUSTEE

                                                ITEMIZED LISTING
Line Hem                                                                 Quantity            Price         Amount
Service of Process Business                                                 1.00            85.00             85.00
TOTAL CHARGED:                                                                                              $65.00

02/09/2015      ##22634276962        USPS MONEY ORDER #22634276962                                           85.00
BALANCE DUE:                                                                                                 $0.00
                                          Thank you for your business!




Please enclose a copy of this invoice with your payment Make Check Payabfe to Direct Process Server LLC. Payment
can also be made at our web site@ www.OirectProcess.com click "Pay You Way" and follow the instructions.Payments
          are due upon receipt of tms invoice and payment not received withtn 1 0 day are subject to late fees.
 We offer service in New YOfk ,New Jersey, Connecticut State-wi-de. Please contact us if a witness fee has not been
                                                   used for a refund.
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Cuip'JI.   Sawicc

    Court of Common Pleaee, State
      of Ohio, Hamlllon County

           AFFIDAVIT OF SERVICE                                                            ttlll874t

                                                                                                    Index no : A1200734
                                                                                                  Office No: 201S000817

  Plaintiff(s);


                                                            -vs-
  Defendant(s):                Carleen Data
  STATE OF NEW YORK COUNfY OF CAITARAUGUS                           ss.:
  ERIK JOHNSON. the undersigned. being duly sworn. deposes and says:
  I am over the age of 18 years. I reside in the state of New Ymt:.
- A)n.1Wdl.28:lut 1:11-PM,--deponent served-the within JUDICIALSUBPOENADUCFSTECVM-fugether with                      a
                          m
   witness fee claeck tile amount of $15.00 on HSBC Bank USA NA as Trustee at 2929 Walden Avenue, DEPEW,
   NY 1� in the manner indicated below:
  By delivering a true copy of each to and leaving with Tifani Watts, Legal analyst who stated be/she is authorized to
  accept service on behalf the corporation/government entity.


  A description of the Defeadaat(s), or other person served on behalf of the Detendant(s) is as follows:




  Sworn to and subscn'bed before me on
  02/19!2015


   ruce E. Kenney
 Notary Public. .p11�
 No. OlKE<,04.                                        DIRECT PROCESS SERVER, I.LC
 Qualified in Cattaraugus County                      373 SMrIHrOWN BYPASS, SUITE 212
 My Co� Expires lQIZ.9/1S                             HAUPPAUGE,NY U788
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                                      STATE OF NEW YORK
                                        COUNTY OF ERIE
HSBC Banlc USA NA as Trustee for the                    SUPOENA
Certificate Holder ofACE Securities Corp.               (pursuant to the Uniform Interstate
Home Equity Loan T� Series 2006-FM2                     Depositions and Discovery Act and
Asset-Back Pass-Through Certificates                    CPLR§3119)

                          Plaintiff-Petitioner
vs
                                                       Originating State: Ohio
Carlean Dates                                          Originating C.-oumy: Hamilton County
                                                       Originating Court: Common Pleas
                                                       Originating case Number: Al200734
                        Defendant-Respondent           Appearance/Pres


                                  SUBPOENADUCES TECUM
                  parsmt to tile Uniform Intelstate Depositions ud Discovery Act
                                (Personal Attendance Not Required)

TO: HSBC Bank USA NA as Trustee at HSBC BANK 2929 Walden Ave. Depew NY. 14043

We Command You to send subpoena documents by 9• day ofFebruary A.O. 2015 to 12062

Ha7.elhurst Drive, Cincinnati, Ohio 45240 in the prepaid envelope sent with this Subpoena in the

case of HSBC Bank USA NA as Trustee vs. Carleen Dates on the part of Carlean Dates and

produce by the time and place aforesaid the following documents, electronically stored

information or objects:

     1) Please send Certified Copy front and back of Carlean Dates's promissory note. original loan #
        925000220288, and servicing account reference# 073346933 in Ohio Common pleas case #
        A1200734 with complete chain of title. If HSBC possesses no such document, please so declare
        for the record
     2) Please send Certified document with the date HSBC Bank as Trustee received transfer of Carlean
        Oates's 1'11(),tpge and promissory note, original loan# 925000220288, and servicing account
        reference# 073346933 in Ohio Common pleas case # A1200734. If HSBC possesses no such
        document, please so declare for the record
     3) Please send Certified document with the amount HSBC Bank as trustee paid for Carlean Oates's
        mortgage and promissory note, original loan # 925000220288, and servicing account reference #
        073346933 in Ohio Common pleas case# Al200734. If HSBC possesses no such document,
        please so declare for the record
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    4) If HSBC Bank as Trustee has sold or transferred cartean Dates's mortgage and note please send
       r;ertified document with sale or transfer of mortgage and promissory note date and new
       transferee(allege owner or debt collector) of original loan# 925000220288, and servicing
       account reference# 073346933 in Ohio Common pleas case# Al200734 If HSBC possesses no
       such document, please so declare for the record.
    SJ Please send the teltiffed Joc:ument with the CUSIP number for the trust the rnortgage and
       promissory note of carlean Dates. oriplal loan # 925000220288, and servicing aa:ount
       �•073346933 tn Ohta OHnmon pleas casetl A.1200734 ls supposed to ba ln. lf HS8C
       possesses no such document, please so declare for the record.
    6) Please send c:e. tlM document with the last day the trust Aa Securities COrp Home Equity Loan
       Trust. Series 2006-FM2 Asset-Back Pass-Through Certfflc:ates which HSBC Bank Is the Trustee
       coutd recaive transfer of Carlean Dates mutgage .md promissory note original loan#
       915000220288, wt seNldngaccount tefe.nmcel 073346933 tn Ohio Common pleas easel
       A1200734 without being taxed by the IRS for whole REMIC. If HSBC possesses no such document
        or no such document exist, please so declare for the record
    7} Please send tettiffed document stating that HSBC Bank as Trustee is (1) the owner, or (2) debt
       colfectol for Carlean Dates mortgage and promissory note orlglnal loan# 925000220288, and
       sef'lldng acx:ount teference#073346933 tn Ohio common pleas easel A.1200734. tt HSBCBank
       as Trustee is not the owner or a debt collector of cartean Dates l'IIOf1la8e and note, please so
       declare for the record.
    8} Please send celilied document that shows cartean Dates mortgage has been paid by insurance
       company as stated In trust PSA. If HSBC possesses no such document or no such document exist,
       please_ so declare for the record.
    9) Please send c.e. tifled document that Carleen Dams mortgage and promissory note otfgi,1111 loan
       # 925000220288, and servidng account 1eference #073346933 in Ohio Common pleas case•
       A1200734 has been satfsfted If not satisfied please state� the ll!COrd or if you are not the
       owner please send addless uf owner. If HSBC possesses no such document or no such
       document� please so declare for the record.

Failure to comply with this subpoena is punishable as a 00tJte1141,t of QJun-and shall make you
liabletDtbe pcnaam �bdlslflbis subpoena -M1Sissacd mra pemlt.ynotmexceedlifty
dollars and all damages samined by reason ofyour fili1ure to comply.

Contact lnformation ofcounsel for an parties
and contact infutmation for parties pro per
In the action:

CarleanDates                          JOHNDCLUNK
mproper                               c/o Charles Gasin
12062 Hazelhurst Drive                4500 Comtbouse Blvd. St 400
Cincinnati. Ohio 45240                Stow, Ohio 44224
513-108-6822                          330-436-0300
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  HSBC�
 February 23, 2015

 Carlean Dates
 12062 Hazelhurst Drive
 P.incinnafi, Ohio 45240
 513-708-6822
 Case# A1200734
 Dear Carlean Dates

· Subiect:-Carlean Datcs
  Our Case# : 3376681
 I am writing in response to the above referenced Subpoena. which was received by HSBC Bank USA,
 N.A.

After reviewing our records, HSBC Bank USA, N.A. was unable to locate any accounts with the
information stated on the subpoena.

Should you have questions, please contact us at 877-874-2403.

 Sincerely,



Legal Processing Department
HSBCBanlc USA, N.A.




RESTRICTED -HSBC Bank USA, NaUona1 ANodatiOft
P.O. Baot 11-45, adfalo. NY 1-4240
